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                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF LOUISIANA



    FLORIDA GAS TRANSMISSION COMPANY, LLC
   Plaintiff
   v.                                                               24-cv-122
        8.22 ACRES, MORE OR LESS, SITUATED IN IBERVILLE PARISH,     Civil Action No.
        LOUISIANA, MURRELL FAMILY L.L.C, AND
        FOREST HOME PLANTATION, L.L.C
   Defendant

                                    CERTIFICATE OF INTERESTED PERSONS


   Pursuant to Local Civil Rule 7.1,
    FLORIDA GAS TRANSMISSION COMPANY, LLC


    provides the following information:
            A complete list of all persons, associations of persons, firms, partnerships, corporations,
     guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
     financially interested in the outcome of the case:
     *Please separate names with a comma and do not add address information. Only text visible
     within box will print.
    Florida Gas Transmission Company, LLC represents that it is a limited liability company and
    its sole member is Citrus, LLC. Citrus, LLC’s two members are subsidiaries of Energy
    Transfer, L.P. and Kinder Morgan, Inc. Both Energy Transfer, L.P. and Kinder Morgan, Inc.
    are publicly traded companies. No other publicly traded company owns 10% or more of
    Florida Gas Transmission Company, LLC.




                                                                    Cheryl M. Kornick (Bar# 19652)
                                                                    Attorney Name and Bar Number


NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.
